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 4
   Attorney for:
 5 MICHAEL HUDDLESTON

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 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:12-CR-00313 TLN
12                                Plaintiff,              STIPULATION AND ORDER
                                                          CONTINUING JUDGMENT AND
13   v.                                                   SENTENCING
14   MICHAEL HUDDLESTON, et. al.,
15                                Defendants,
16

17                                              STIPULATION
18          Plaintiff, United States of America, by and through its counsel of record, and defendant,
19
     MICHAEL HUDDLESTON, by and through his counsel of record, hereby stipulate that judgment
20
     and sentencing, currently scheduled for June 19, 2014, may be continued to August 14, 2014, at 9:30
21
     a.m. The United States Probation Department recently completed the proposed PSR on June 13,
22

23 2014. The recommendations in the PSR differ from the plea agreement and counsel for defendant

24 needs to order the sentencing transcript of the codefendant to prepare objections. Moreover, the

25 assigned Assistant United States Attorney will be out of the office during the month of July. The
26 parties further stipulate that the disclosure schedule may be modified as set forth below:

27

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                                                      1
29

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            Proposed Pre-Sentence Report Disclosed:                       Completed
 1
            Written Objections to Probation Officer:                      July 17, 2014
 2

 3          Pre-Sentence Report Filed with the Court:                     July 24, 2014

 4          Motion for Correction to PSR:                                 July 31, 2014
 5          Reply or Statement of Non-Opposition:                         August 7, 2014
 6
            Judgment and Sentencing:                                      August 14, 2014, at 9:30 a.m.
 7
            The United States Probation Department has been consulted about this continuance and has
 8
     no objection.
 9

10          Counsel for the government has reviewed this stipulation and proposed order and has

11 authorized counsel for MICHAEL HUDDLESTON to sign and file it on his behalf.

12

13 IT IS SO STIPULATED.

14
     DATED:          June 16, 2014                          /s/Jared Dolan
15                                                          Jared Dolan
                                                            Assistant United States Attorney
16
     DATED:          June 16, 2014                          /s/Scott Cameron
17                                                          Scott Cameron
                                                            Attorney for Michael Huddleston
18

19
20                                              ORDER

21
            IT IS SO ORDERED this 16th day of June, 2014.
22

23

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25
                                                                Troy L. Nunley
26                                                              United States District Judge

27

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                                                        2
29

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